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                          0.8FOR THE DISTRICT OF COLORADO

In re:                                        )
                                              )       Case No. 24-13394-JGR
WESTERN RISE, INC.                            )
                                              )       Chapter 11
                               Debtor.        )       (Subchapter V)

                THE S GROUP INC.’S LIMITED OBJECTION TO DEBTOR’S
                MOTION FOR AUTHORITY TO USE CASH COLLATERAL

       The S Group, Inc. (“TSG”), a secured creditor in this chapter 11 case, by and through its
undersigned counsel, hereby files its limited objection to Debtor’s Motion for Authority to Use
Cash Collateral (the “Cash Collateral Motion”), and in support hereof states as follows:

       1.     On June 19, 2024 (the “Petition Date”), Western Rise, Inc. (“Debtor”) filed its
Chapter 11, subchapter V, voluntary petition, starting this case.

       2.       Prior to the Petition Date, the Debtor entered into a Product Services Agreement
with TSG dated March 30, 2021, and a Promissory Note dated February 16, 2023. The Product
Services Agreement provides TSG with a security interest in “all Customer Products purchased
hereunder . . . and the proceeds thereof to secure [the Debtor’s] payment obligations to [TSG]
under this Agreement.”

       3.      On May 17, 2024, TSG filed a UCC-1 Financing Statement with the Delaware
Secretary of State perfecting TSG’s lien as described in the Product Services Agreement.

       4.      On June 19, 2024, the Debtor filed the Cash Collateral Motion, seeking both interim
and final approval of its use of cash collateral. [Doc. 8.]

        5.       Specifically, the Debtor noted that creditor GZ Impact Fund I, L.P., d/b/a Greenline
Ventures (“Greenline”) holds a first priority security interest in substantially all of the Debtor’s
assets, as reflected in a UCC-1 Financing Statement filed with the Delaware Secretary of State on
or about December 2, 2021.

        6.    The Budget included with the Cash Collateral Motion included adequate protection
payments to Greenline of $11,317.30 per month, which TSG has been informed in the contractual
interest payment amount.

       7.     On June 27, 2024, this Court entered its entered its Interim Order Authorizing Use
of Cash Collateral (the “Interim Cash Collateral Order”). [Doc. 33.]

          8.    A final hearing on the Cash Collateral Motion is scheduled for July 12, 2024.




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        9.      TSG has reviewed the UCC-1 Financing Statement filed by Greenline, which
reflects a lien on “All assets of the Debtor. The foregoing includes, without limitation, assets in
which the Debtor now has or hereafter obtains an interest.” TSG has requested, but has not
received, a complete copy of the Security Agreement between the Debtor and Greenline. TSG
notes that it has provided all relevant commercial documents between the Debtor and TSG to
Greenline at Greenline’s request.

        10.     While TSG does not generally object to the Debtor’s use of cash collateral, unless
and until TSG has had an opportunity to review the Security Agreement between the Debtor and
Greenline, TSG cannot make a determination as to the enforceability of Greenline’s purported
security interest and, thus, the appropriateness of the proposed adequate protection payments. For
example, to the extent the Security Agreement between the Debtor and Greenline likewise contains
a “supergeneric” description of collateral, such security interest would be unenforceable. See 6
Del. C. § 9-108(c); see also Naughton v. Harmelech, 2010 U.S. Dist. LEXIS 99597, at *14 (D.N.J.
Sept. 22, 2010) (applying Illinois’s adaptation of the Uniform Commercial Code § 9-108,
concluding that plaintiff’s security interest included the “supergeneric” description such that the
plaintiff did not have a security interest in the defendants’ personal property); Angell v.
Accugenomics, Inc. (In re Gene Express, Inc.), 2013 Bankr. LEXIS 1721, (Bankr. E.D.N.C. Apr.
26, 2013) (applying North Carolina’s adaptation of the Uniform Commercial Code § 9-108,
holding same); Sherman v. OTA Franchise Corp. (In re Essential Fin. Educ.), 629 B.R. 401, 422
(Bankr. N.D. Tex. 2021) (applying Texas’s adaptation of the Uniform Commercial Code § 9-108,
holding same and stating “these supergeneric, catch-all descriptions fail as a matter of law.”).

       11.     Accordingly, TSG objects to the Cash Collateral Motion on a limited basis as
described herein.

       WHEREFORE, in the absence of receipt of the Security Agreement between the Debtor
and Greenline, the S. Group, Inc. respectfully objects to Debtors’ proposed use of cash collateral
and payment of adequate protection to Greenline, and requests that the Court deny the Cash
Collateral Motion accordingly, and for such other relief as may be appropriate under the
circumstances.

          Respectfully submitted this 3rd day of July, 2024.

                                                MARKUS WILLIAMS YOUNG &
                                                HUNSICKER LLC

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on July 3, 2024, a true and correct copy of the foregoing
THE S GROUP INC.’S LIMITED OBJECTION TO DEBTOR’S MOTION FOR
AUTHORITY TO USE CASH COLLATERAL was filed and served via CM/ECF pursuant to
L.B.R. 9013-1 and 9036-1 as indicated below on the following:

Via CM/ECF

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